     Case 2:21-cv-02550-GW-PVC Document 10 Filed 04/22/21 Page 1 of 2 Page ID #:32



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11
                                   UNITED STATES DISTRICT COURT
12
                                CENTRAL DISTRICT OF CALIFORNIA
13

14   ANTONIO OWENS,                                           )    Case No.: 2:21-cv-02550-GW-PVC
                                                              )
15                                                            )
                       Plaintiff,                             )
16         vs.                                                )    STIPULATION TO EXTEND TIME
                                                              )    TO RESPOND TO INITIAL
17                                                            )
     CREDENCE RESOURCE                                        )    COMPLAINT BY NOT MORE THAN
18                                                            )    30 DAYS (L.R. 8-3)
     MANAGEMENT, LLC,                                         )
19                                                            )
                       Defendant.                             )    Complaint served: April 1, 2021
20                                                            )    Current response date: April 22, 2021
                                                              )
21                                                            )    New response date: May 3, 2021
                                                              )
22                                                            )
23
           It is hereby stipulated by Plaintiff Antonio Owens and Defendant Credence
24

25   Resource Management, LLC (“CRM”), through undersigned counsel, that CRM
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                 Stipulation To Extend Time To Respond To Initial Complaint By Not More Than 30 Days (L.R. 8-3)

                                                               1
     Case 2:21-cv-02550-GW-PVC Document 10 Filed 04/22/21 Page 2 of 2 Page ID #:33



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     shall have an extension of time to respond to the Complaint, up to and including
2
     May 3, 2021.
3

4           The extension is needed to allow defense counsel time to investigate
5
     Plaintiff’s claims in preparation for responding to the Complaint, and for the parties
6

7    to evaluate the prospects for early resolution of this matter. This stipulation is made
8
     in good faith and not for any purpose of delay.
9

10
            This stipulation does not extend the time to respond by more than a cumulative

11   total of thirty (30) days from the date CRM’s response initially would have been
12
     due.
13

14          IT IS SO STIPULATED.
15
     Dated: 4/22/2021                          SESSIONS, ISRAEL & SHARTLE, L.L.P.
16

17                                             /s/ Brittany L. Shaw
                                               Brittany L. Shaw
18
                                               Attorney for Defendant
19                                             Credence Resource Management, LLC
20

21   Dated: 4/22/2021                          KIMMEL & SILVERMAN, P.C.
22
                                               /s/Amy L. Bennecoff Ginsberg
23                                             Amy L. Bennecoff Ginsberg, Esq.
24                                             Attorney for Plaintiff
                                               Antonio Owens
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              Stipulation To Extend Time To Respond To Initial Complaint By Not More Than 30 Days (L.R. 8-3)

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